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3                              UNITED STATES DISTRICT COURT

4                                     DISTRICT OF NEVADA

5                                                ***

6     HERIBERTO TORIBIO-RUIZ,                            Case No. 3:14-cv-00492-MMD-WGC

7                                  Petitioner,                        ORDER
            v.
8

9     ISIDRO BACA, et al.,

10                             Respondents.

11

12         Petitioner has filed an unopposed motion for extension of time (first request) (ECF

13   No. 84). The Court finds good cause to grant the motion.

14         It is therefore ordered that Petitioner’s unopposed motion for extension of time (first

15   request) (ECF No. 84) is granted. Petitioner will have up to and including December 28,

16   2020, to file a reply to the answer (ECF No. 83).

17         DATED THIS 19th day of October 2020.

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20                                               MIRANDA M. DU
                                                 CHIEF UNITED STATES DISTRICT JUDGE
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